                                                                              Case 3:05-cr-00167-WHA            Document 550         Filed 07/05/06     Page 1 of 1



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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                                 No. CR 05-00167 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                      ORDER RE DEFENDANT FORT’S
                                                                         13                                                             JOINDER IN MOTION FOR
                                                                              EDGAR DIAZ, RICKEY ROLLINS,                               SANCTIONS
                                                                         14   DON JOHNSON, ROBERT CALLOWAY,
                                                                              DORNELL ELLIS, EMILE FORT,
                                                                         15   CHRISTOPHER BYES, PARIS
                                                                              RAGLAND, RONNIE CALLOWAY,
                                                                         16   ALLEN CALLOWAY, and REDACTED
                                                                              DEFENDANTS Nos. ONE & TWO,
                                                                         17                  Defendants.
                                                                         18                                                    /

                                                                         19          Defendant Emile Fort purports to join in a motion for sanctions. Parties may only move
                                                                         20   for sanctions if their counsel and investigators filed certifications agreeing to abide by the
                                                                         21   protective order governing access to discovery implicating witness security. In addition, they
                                                                         22   must have asked the government for such discovery (Tr. of Proceedings at 119, June 28, 2006).
                                                                         23   Mr. Fort did not file anything to indicate he filed such a request. He should file evidence of
                                                                         24   such a request by NOON, THURSDAY, JULY 6, 2006.
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                                                                         26          IT IS SO ORDERED.
                                                                         27
                                                                         28   Dated: July 5, 2006
                                                                                                                                   WILLIAM ALSUP
                                                                                                                                   UNITED STATES DISTRICT JUDGE
